           IN THE UNITED STATES DISTRICT COURT FOR THE
                WESTERN DISTRICT OF PENNSYLVANIA
                           ERIE DIVISION


BETTE EAKIN, INES MASSELLA, FETTERMAN   Civil Action
FOR PA, DSCC, and DCCC,
              Plaintiffs,
                                        Case No. 1:22-cv-00340-SPB
                       v.
ADAMS COUNTY BOARD OF ELECTIONS,
ALLEGHENY COUNTY BOARD OF ELECTIONS,
BEAVER COUNTY BOARD OF ELECTIONS,
BEDFORD COUNTY BOARD OF ELECTIONS,
BERKS COUNTY BOARD OF ELECTIONS,
BLAIR COUNTY BOARD OF ELECTIONS,
BRADFORD COUNTY BOARD OF ELECTIONS,
BUCKS COUNTY BOARD OF ELECTIONS,
BUTLER COUNTY BOARD OF ELECTIONS,
CAMBRIA COUNTY BOARD OF ELECTIONS,
CAMERON COUNTY BOARD OF ELECTIONS,
CARBON COUNTY BOARD OF ELECTIONS,
CENTRE COUNTY BOARD OF ELECTIONS,
CHESTER COUNTY BOARD OF ELECTIONS,
CLARION COUNTY BOARD OF ELECTIONS,
CLEARFIELD COUNTY BOARD OF ELECTIONS,
CLINTON COUNTY BOARD OF ELECTIONS,
COLUMBIA COUNTY BOARD OF ELECTIONS,
CRAWFORD COUNTY BOARD OF ELECTIONS,
CUMBERLAND COUNTY BOARD OF
ELECTIONS, DAUPHIN COUNTY BOARD OF
ELECTIONS, DELAWARE COUNTY BOARD OF
ELECTIONS, ELK COUNTY BOARD OF
ELECTIONS, FAYETTE COUNTY BOARD OF
ELECTIONS, FOREST COUNTY BOARD OF
ELECTIONS, FRANKLIN COUNTY BOARD OF
ELECTIONS, FULTON COUNTY BOARD OF
ELECTIONS, HUNTINGDON COUNTY BOARD
OF ELECTIONS, INDIANA COUNTY BOARD OF
ELECTIONS, JEFFERSON COUNTY BOARD OF
ELECTIONS, JUNIATA COUNTY BOARD OF
ELECTIONS, LACKAWANNA COUNTY BOARD
OF ELECTIONS, LANCASTER COUNTY BOARD
OF ELECTIONS, LAWRENCE COUNTY BOARD
OF ELECTIONS, LEBANON COUNTY BOARD OF
ELECTIONS, LEHIGH COUNTY BOARD OF
ELECTIONS, LUZERNE COUNTY BOARD OF
ELECTIONS, LYCOMING COUNTY BOARD OF
ELECTIONS, MCKEAN COUNTY BOARD OF
ELECTIONS, MERCER COUNTY BOARD OF
ELECTIONS, MIFFLIN COUNTY BOARD OF
ELECTIONS, MONROE COUNTY BOARD OF
ELECTIONS, MONTGOMERY COUNTY BOARD
OF ELECTIONS, MONTOUR COUNTY BOARD
OF ELECTIONS, NORTHAMPTON COUNTY
BOARD OF ELECTIONS, NORTHUMBERLAND
COUNTY BOARD OF ELECTIONS, PERRY
COUNTY BOARD OF ELECTIONS, PIKE
COUNTY BOARD OF ELECTIONS, POTTER
COUNTY BOARD OF ELECTIONS, SNYDER
COUNTY BOARD OF ELECTIONS, SOMERSET
COUNTY BOARD OF ELECTIONS, SULLIVAN
COUNTY BOARD OF ELECTIONS, TIOGA
COUNTY BOARD OF ELECTIONS, UNION
COUNTY BOARD OF ELECTIONS, VENANGO
COUNTY BOARD OF ELECTIONS, WARREN
COUNTY BOARD OF ELECTIONS,
WASHINGTON COUNTY BOARD OF
ELECTIONS, WAYNE COUNTY BOARD OF
ELECTIONS, WESTMORELAND COUNTY
BOARD OF ELECTIONS, and WYOMING
COUNTY BOARD OF ELECTIONS,

                     Defendants.


           PLAINTIFFS’ LOCAL RULE 7.1 DISCLOSURE STATEMENT

     Pursuant to Local Rule 7.1, Plaintiffs certify the following information:

 •   Plaintiff Fetterman for PA is a duly organized political campaign in support of John

     Fetterman’s election to the United States Senate, representing the Commonwealth of

     Pennsylvania. It has no parent company, subsidiary, or affiliate as those terms are defined

     in Local Rule 7.1(A)(1).

 •   Plaintiff DSCC is the Democratic Party’s national senatorial committee, as defined by 52

     U.S.C. § 30101(14). It has no parent company, subsidiary, or affiliate as those terms are
      defined in Local Rule 7.1(A)(1).

  •   Plaintiff DCCC is the Democratic Party’s national congressional committee as defined by

      52 U.S.C. § 30101(14). It has no parent company, subsidiary, or affiliate as those terms

      are defined in Local Rule 7.1(A)(1).


Dated: November 8, 2022                         Respectfully submitted,

                                                By: __________________________
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                                                * Pro Hac Vice application forthcoming

                                                Counsel for Plaintiffs
